 Case 2:22-cv-02651-AB-KS Document 28 Filed 07/18/22 Page 1 of 10 Page ID #:738


                                                                                 July 18, 2022
1    David A Martinez
     2316 Gatewood St,                                                                   DBE

2    Los Angeles, CA 90031
     323-494-4400
3
     Plaintiff as Pro Per
4

5

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7
                                        UNITED STATES DISTRICT COURT
8                             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

9
     David Armando Martinez,                          )   Case No. 2:22-cv-02651-AB-KS
10                                                    )
                      Plaintiff,                      )   NOTICE OF MOTION AND MOTION TO STRIKE
11                                                    )   DEFENDANT ROBINHOOD’S ANSWER &
             vs.                                      )   ENTRY OF DEFAULT; DECLARATION OF
12                                                    )   DAVID A MARTINEZ IN SUPPORT OF MOTION
     Robinhood Crypto LLC et al, and DOES 1 - 4       )   TO STRIKE & ENTRY OF DEFAULT
13                                                    )
                      Defendants.                     )   DATE: July 29, 2022
14                                                    )   TIME: 10:00am
                                                      )   Judge: Hon. Andre Birotte Jr
15                                                    )
                                                      )
16                                                    )
                                                      )
17                                                    )

18

19           TO DEFENDANTS ROBINHOOD CRYPTO LLC & ROBINHOOD SECURITIES LLC,
20
     AND THEIR ATTORNEYS OF RECORD:
21
             PLEASE TAKE NOTICE that on July 29th, 2022, at 10:00am or as soon after that as the
22

23
     matter can be heard in courtroom 7B of the First Street Courthouse, 350 West First Street, Los

24   Angeles, CA 90012. Plaintiff David Armando Martinez (“Plaintiff”) will move this Court for an

25   order striking the entire Answer filed by Defendant Robinhood Crypto LLC & Robinhood Securities
26
     LLC(“Defendant”) on file herein, or in the alternative for an order striking ALL the affirmative
27

28


                                                       - 1 -
                                   NOTICE OF MOTION AND MOTION TO STRIKE ANSWER
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1    defenses contained in the Answer filed by Defendant. The grounds for this Motion to Strike are set

2    forth below.
3
            MOTION TO STRIKE ANSWER FILED BY DEFENDANT ROBINHOOD CRYPTO
4
     LLC & ROBINHOOD SECURITIES LLC.
5
            This Motion to Strike is made pursuant to Code of Civil Procedure §§ 435-437 on the grounds
6

7    that the answer is not verified even though the complaint is verified which is required by Code of

8    Civil Procedure § 446. Thus, the entire answer should be stricken.
9
            This Motion to Strike is also made on the alternative grounds that errors with submitted
10
     documents: Defendants’ Notice of Motion and Motion to Dismiss Complaint & Request for Judicial
11
     Notice Lacked Proof of Service upon pro se plaintiff, F.R.Civ.P.5.
12

13   The following

14   1.     SERVICE ON DAVID A MARTINEZ WAS IMPROPER
15
     On June 30th, Samer N. Aref defendants counsel purported to serve David A Martinez by CM/ECF &
16
     Electronic Mail. Service was improper under Rule F.R.Civ.P.5 2 Service in General (f) states that
17
     process may be served upon a pro se plaintiff:
18

19          (f) delivering it by any other means that the person consented to in writing—in which event

20   service is complete when the person making service delivers it to the agency designated to make
21
     delivery.
22
            Defendant’s failed to meet plaintiff’s written consent as indicated by David A Martinez
23
     Original complaint and summons. The listed consent addressed “2316 Gatewood St, Los Angeles CA
24

25   90031” as the method of service when plaintiff served defendant on 05/19/2022. As a result,

26   defendants’ motion to dismiss filed on June 30th, 2022, and proof of service and declaration by Samer
27   N Aref both failed to address and comply with plaintiffs’ consent and making there answer improper.
28


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                            NOTICE OF MOTION AND MOTION TO STRIKE ANSWER
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1    2.     The second affirmative defense alleging statement of non- opposition submitted on

2    07/11/2022 on the grounds that this defense contains allegations that are wholly irrelevant to the
3
     causes of action alleged in their answer, and
4
     thus, constitute immaterial allegations.
5
     3.     Finally on July 1st, 2022, the court notified defendant of deficiencies in their Request for
6

7    Judicial Notice, Document 23, Notice of Motion and Motion to Dismiss for Lack of Jurisdiction

8    Document 22. Please see Document 25 & notice of electronic filing.
9
     4.     Entry of Default – Plaintiff Served Defendant Complaint and summon on 05/19/2022 with a
10
     deadline of 06/09/2022. Furthermore, plaintiff granted an extension to defendant for time to answer
11
     complaint on June 2, 2022, for an extension of time with a new deadline of June 30th, 2022.
12

13   Defendant has failed to respond as indicated in the complaint and failed to serve plaintiff based on

14   court procedures. Plaintiff has properly served and notified defendant by serving Sapphire
15
     Macfarlene as authorized to accept.
16

17
            In conclusion, Plaintiff’s David A Martinez et al, move to strike & request entry of default
18

19   judgement for failure to respond to complaint by its deadline of 06/30/2022 & for failure to further

20   amend and correct deficiencies & serve plaintiff to its consented place of service.
21

22

23
            Dated July 11, 2022,                                  David Armando Martinez, Pro Se
24

25                                                                ___________________________

26                                                                Plaintiff as Pro Per.
27

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                             NOTICE OF MOTION AND MOTION TO STRIKE ANSWER
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                      NOTICE OF MOTION AND MOTION TO STRIKE ANSWER
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   1   David Armando Martinez
   2   2316 Gatewood St,
       Los Angeles, CA 90031
   3
       1 (323)494-4400
   4
       mrfivestar@outlook.com
   5
       Plaintiff as Pro Per
   6
   7
   8
                                 UNITED STATES DISTRICT COURT
   9
               FOR THE CENTRAL DISTRICT OF CALIFORNIA – Western Division
  10
  11
       David Armando Martinez, et al              Case No. 2:22-CV-02651-AB-KS
  12
                    Plaintiff,
  13                                              Declaration of David Armando
             v.                                   Martinez In Support to Notice of
  14                                              Motion and Motion to Strike And Entry
       Robinhood Crypto LLC et al                 of Default – Meet & Confer LR 52-4.1
  15
                    Defendant.
  16                                              Date: July 29, 2022
                                                  Time: 10:00am
  17                                              Courtroom: 7B
                                                  Assigned to : Hon Andre Birotte Jr
  18
  19
  20      1. I David Armando Martinez, declare that if called as witness, I could and
  21         would competently testify to the following matters. The matters stated
  22         in this declaration are true and correct to the best of my knowledge.
  23
  24      2. I have never consented or gave written permission to anyone to serve
  25         me in any method other than by mail.
  26      3. I have never given Samer N Aref written permission to deliver summons,
  27         complaint or any other answer by electronic mail or by utilizing the
  28         courts CF/ECF system.
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   1      4. During our Meet and Confer on June 1, 2022 & on June 2, 2022, I
   2         granted Defendants additional time to answer the complaint for which
   3         further discussion in person occurred on June 7, 2022 in person in Los
   4         Angeles, CA where we attempted to resolve my complaint informally.
   5
   6      5. William Turner during conference reviewed my claims and stated he will
   7         later contact me after briefing his clients on my claim for damages.
   8
   9
  10      I declare under penalty of perjury, under the laws of the State of California
  11      and the United States of America, that the foregoing is true and correct, and
  12      that this declaration was executed in Los Angeles, CA this 11th day of July,
  13      2022.
  14
  15                                                David Armando Martinez
  16
  17                                                ______________________
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Case 2:22-cv-02651-AB-KS Document 28 Filed 07/18/22 Page 9 of 10 Page ID #:746




   1   David Armando Martinez, pro se
   2   2316 Gatewood St ,
       Los Angeles, CA 9031
   3   1(323)494-4400
       mrfivestar@outlook.com
   4
       Individual Corporate Officer as Pro Se
   5
   6
   7                             UNITED STATES DISTRICT COURT
   8           FOR THE CENTRAL DISTRICT OF CALIFORNIA – Western District
   9
  10   Five Star & Socius Inc, et al,                 Case No. 2:22-CV-02651-AB-KS
  11                David Armando Martinez,
                                                      [Proposed Order] Order Granting
  12                Plaintiff,                        Plaintiff’s David A Martinez Motion to
                                                      Strike Defendant’s Request for Judicial
  13         v.                                       Order & Notice of Motion & Motion to
                                                      Dismiss Complaint & Entry of Default
  14   Robinhood Crypto LLC, et al,
                                                      Hearing: July 29, 2022
  15                Robinhood Securities LLC          Time: 10:00am
                                                      Courtroom: 7B
  16                Defendants,                       Judge: Hon Andre Birotte Jr
  17
  18
  19
  20
                  [PROPOSED] ORDER GRANTING MOTION TO STRIKE & ENTRY OF
  21
       DEFAULT
  22
  23
       ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  24
            Plaintiff David Armando Martinez et al (“Plaintiff”) Motion to Strike
  25
       Defendant Robinhood Crypto LLC et al (“Defendant’s”) Answer and Entry of
  26
       Default, came on for hearing in Courtroom 7B of the First Street Courthouse,
  27
       350 West First Street, Los Angeles, CA 90012, on July 29, before the honorable
  28

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   1   judge Andre Birotte Jr.
   2             Based upon the documents submitted, oral argument at the time of
   3   the hearing, the courts records on file and for good cause appearing therefore;
   4             IT IS HEREBY ORDERED:
   5             The following portions of Defendants answer are stricken:
   6             1. Request for Judicial Notice.
   7             2. Notice of Motion & Motion to Dismiss for lack of Jurisdiction
   8             3. Statement of Non-Opposing
   9
  10   Furthermore, Entry Of Default – “For a judgement against defendants, and
  11   each of them for exemplary damages in an amount to be proven at trial” is
  12   [GRANTED with __________days/without leave to amend] or [DENIED]
  13
  14
  15
  16   Dated: ________________        ________________________________
  17                                   Honorable Andre Birotte Jr
  18                                   United States District Judge
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